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                                                                           HON. ROBERT S. LASNIK
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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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 9    KARLENE K. PETITT,                                  CASE NO. 20-cv-1093-RSL
                                            Plaintiff,
10                                                        PLAINTIFF’S UNOPPOSED
                                                          MOTION AND ORDER FOR A ONE-
11       v.                                               WEEK EXTENSION TO BRIEFING
12                                                        SCHEDULE ON DEFENDANT’S
      AIR LINE PILOTS ASSOCIATION,                        PENDING MOTION TO DISMISS
13                               Defendant.

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16            Plaintiff Karlene Petitt hereby respectfully moves for a one-week extension on the briefing
17   schedule on the Motion to Dismiss the Amended Complaint of Defendant Air Line Pilots
18   Association (“ALPA”) (Dkt. 14). The basis for this request is as follows.
19      1. On September 25, 2020, the Court entered a Scheduling Order (Dkt. 13) (“Scheduling
20   Order”) establishing a briefing schedule for ALPA’s Motion to Dismiss the Amended Complaint.
21   ALPA filed that Motion on October 5, 2020. Under the Scheduling Order, Plaintiff’s Opposition
22   Brief is due on November 16, 2020, and ALPA’s Reply Brief is due on December 2, 2020.
23      2. Plaintiff is an airline pilot. She has been scheduled for an eight-day international trip
24   beginning on November 9, 2020 and may not have internet access during a significant portion of
25   that trip. To accommodate that trip, Plaintiff respectfully requests a one-week extension of the
26   briefing schedule so that her Opposition Brief would be due on November 23, 2020, and ALPA’s
27

      PLAINTIFF’S UNOPPOSED MOTION AND
      ORDER FOR A ONE-WEEK EXTENSION OF
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 1   Reply Brief would be due on December 9, 2020. ALPA has advised that it does not oppose this

 2   request.

 3      3. All of the Parties’ new proposed deadlines are set forth in the accompanying proposed

 4   Order.

 5   RESPECTFULLY SUBMITTED this 5th day of November 2020.

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 7   /s/ Karlene Petitt
 8   Karlene Petitt
     Plaintiff, Pro Se
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      PLAINTIFF’S UNOPPOSED MOTION AND
      ORDER FOR A ONE-WEEK EXTENSION OF
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                                                                             3




 1                                                ORDER

 2          Based upon the above stipulation of the parties, and for good cause shown by the parties,

 3   the Court hereby amends the Scheduling Order (Dkt. 13) as follows:
 4           D       Deadline for Plaintiff’s Opposition to                  November 23, 2020
 5                   Defendant’s Motion to Dismiss

 6          E        Deadline for Defendant’s Reply in support of its        December 9, 2020
                     Motion to Dismiss
 7
                                 WK day of 1RYHPEHU 2020.
                     Dated this ______
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                                                   HON. ROBERT S. LASNIK
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      PLAINTIFF’S UNOPPOSED MOTION AND
      ORDER FOR A ONE-WEEK EXTENSION OF
      BRIEFING SCHEDULE – Page 3
